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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                  NORTHERN DIVISION

U.S. EQUAL EMPLOYMENT                         )
OPPORTUNITY COMMISSION,                       )
                                              )
Plaintiff,                                    )      Civil Action No.: 21-cv-00652-GLR
                                              )
v.                                            )
                                              )
KOERNER MANAGEMENT                            )
GROUP, INC.                                   )
d/b/a IHOP                                    )
                                              )
Defendant.

                 MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT

        Plaintiff the U.S. Equal Employment Opportunity Commission (“EEOC”) filed this

action under Title VII of the Civil Rights Act of 1964, alleging that Defendant Koerner

Management Group, Inc. (“KMG”) subjected female employees to unlawful harassment because

of their sex. See ECF No. 1. EEOC seeks leave to file its First Amended Complaint pursuant to

FRCP 15(a)(2) to assert additional allegations concerning: 1) Defendant’s status as the Title VII

employer of the aggrieved individuals subjected to the alleged harassment; and 2) the total

number of persons employed by Defendant for purposes of determining the applicable

compensatory and punitive damages cap under 42 USC § 1981(a). In support of its Motion,

EEOC states:

        1. This Motion is timely made prior to the scheduling order’s September 6, 2021

              deadline for seeking amendment of the pleadings.

        2. EEOC sought but did not obtain Defendant’s consent to the amendment.

        3. Further grounds for this Motion are set forth in the accompanying Memorandum.
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Dated: September 2, 2021



                                                                       Respectfully,

                                                              /s/ Thomas D. Rethage
                                                                     Thomas Rethage
                                                          Trial Attorney, U.S. EEOC
                                                         Philadelphia District Office
                                           801 Market St, Suite 1000 Phila.PA 19107
                                                              Phone: (267) 589-9756
                                                           thomas.rethage@eeoc.gov
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                           IN THE UNITED STATES DISTRICT COURT
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U.S. EQUAL EMPLOYMENT                       )
OPPORTUNITY COMMISSION,                     )
                                            )
              Plaintiff,                    )       Civil Action No.: 21-cv-00652-GLR
                                            )
v.                                          )
                                            )
KOERNER MANAGEMENT                          )
GROUP, INC.                                 )
d/b/a IHOP                                  )
                                            )
Defendant.
                                 CERTIFICATE OF SERVICE
        I hereby certify that on September 2, 2021, I filed a true and correct copy of EEOC’s
foregoing Motion for Leave to File First Amended Complaint with Memorandum and Exhibits
via the Court’s ECF system, which caused a copy to be served on:
                                      K. Nichole Nesbitt
                                      knn@gdldlaw.com
                                        Jessica J. Ayd
                                     jayd@gdldlaw.com
                            Goodell, DeVries, Leech & Dann, LLP
                   Attorneys for Defendant Koerner Management Group, Inc

I also caused a paper copy of the filed documents to be mailed to the Court per Local Rule 105.



                                                    /s/ Thomas D. Rethage
                                                    Thomas Rethage
                                                    Trial Attorney, U.S. EEOC
                                                    Philadelphia District Office
                                                    801 Market St, Suite 1000 Phila.PA 19107
                                                     Phone: (267) 589-9756
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